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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

THOMAS E. SMITH, SR.,
Individually and as Administrator
of the Estate of OK HUI SMITH,
deceased
                                                  CIVIL ACTION NO.
              Plaintiff,                          1:14-CV-03319-RWS


        v.


WILLIAM H. VAN LAAR, D.O.
and McDONOUGH PRIMARY
CARE, INC.,


              Defendants.




                                        VERDICT


        We, the jury, award damages to Plaintiff in the amount of:


                            $   1,7   7 (){)
                                              ;
                                                  ooo . () ()

        S,O SAY WE ALL.




Date:   Ju A.J F 2-tf, � tJl(p
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